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                                 Civil Action No. 17-cv-01910-REB
                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Bankruptcy No. 16-21204 KHT, Chapter 13
   Adversary No. 17-01066 KHT

   IN RE:

   LINO MIRANDA MUNOZ,
        Debtor.

   SUPERIOR CLEANING SERVICE, LLC
        Appellant,
   v.

   LINO MIRANDA MUNOZ,
        Appellee.



         RESPONSE TO APPELLEE’S OBJECTIONS TO RECOMMENDATION OF
                     UNITED STATES MAGISTRATE JUDGE



            SUPERIOR CLEANING SERVICE, LLC (“Superior”), through its undersigned counsel,

   hereby files with the United States District Court for the District of Colorado (“Appellate Court”)

   its Response to Appellee’s Objections to Recommendation of United States Magistrate Judge

   (“Response”), and in support thereof, states as follows:

                                              Background

            This dispute arises out of a state court action, initiated by Debtor Lino Munoz (“Munoz”)

   on February 7, 2014 against Superior, for breach of contract and unjust enrichment in Boulder

   County District Court. #7-1 at 9. In response, Superior asserted a number of counterclaims against

   Munoz, including fraud. Id. The case ultimately progressed to a four-day jury trial, resulting in a




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   jury verdict in favor of Superior 1. Id. Because the contract at issue between the parties (the

   Independent Contractor Agreement) contained a fee-shifting provision and because Superior had

   prevailed against Munoz on all claims at trial, the State Court entered the judgment at issue here

   against Munoz. Id. The judgment ultimately entered by the State Court against Munoz totaled

   $90,733.79, with interest to accrue at the rate of 8% per annum. #7-1 at 10.

           Munoz subsequently filed for Chapter 13 bankruptcy protection on November 16, 2016.

   #7-1 at 10. Superior thereafter filed its Complaint Objecting to Discharge under 11 U.S.C. §

   523(a)(2)(A) on February 24, 2017. Id. On July 26, 2017, the United States Bankruptcy Court for

   the District of Colorado (“Bankruptcy Court”) granted summary judgment in favor of Superior

   finding that “the issue of whether Munoz committed fraud was actually litigated and necessarily

   adjudicated” in the State Court matter, and thus, could not be re-litigated in the Adversary

   Proceeding. Id. However, the Bankruptcy Court also found that “the amount of debt attributable

   to Munoz’s fraud” was $1.00 in actual damages and $1.00 for exemplary damages, “for a total of

   $2.00.” #7-1 at 10. As a result, the Bankruptcy Court determined that only $2.00 of the $90,733.79

   judgment entered against Munoz was not dischargeable. #7-1 at 10-11.

           Superior filed the instant appeal on August 7, 2017 to determine whether the Bankruptcy

   Court erred in determining only $2.00 of the judgment was nondischargeable, and whether the

   Bankruptcy Court erred in failing to award Superior its attorneys’ fees and costs expended in the

   Adversary Proceeding. Munoz did not file a cross-appeal.




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    The jury awarded nominal damages to Superior for breach of contract and fraud, but also awarded Superior
   $12,500 in punitive damages for fraud. #7-1 at 9. However, due to the operation of C.R.S. § 13-21-102(1)(a), the
   Boulder District court modified the jury verdict, awarding damages to Superior in the amount of $3.00. Id.

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                                   Response to Standard of Review

          As an initial matter, Superior does not disagree with Appellee (“Munoz”) as to the

   Appellate Court’s obligation to review the Objections under a de novo standard and the fact the

   Appellate Court here “may accept, reject, or modify, in whole or in part, those portions of the

   proposed findings and recommendations.” Mahoney v. Ernst & Young LLP, 487 F.Supp.2d 780

   (S.D.Tex. 2006). However, “[t]he [Appellate Court] Judge may be persuaded by the reasoning of

   the magistrate judge while still engaging in an independent decision. See Mendez v. Republic

   Bank, 725 F.3d 651 (7th Cir. 2013). Sssssssssssssssssssssssssssssssssssssssssssssssssssssssssssssss

                                       Response to Objections

      1. Munoz’s Fraud was “True Nature” of Debt Owed to Superior and was Inextricably
         Linked to the Breach of Contract Counterclaim against Munoz

          In his Objection, Munoz argues that the Bankruptcy Court’s conclusion “that the issue of

   damages for Superior’s state law fraud claim is ‘identical’ to the issue of what debt is

   nondischargeable under Section 523(a)(2)(A)” is correct – despite the fact that this conclusion is

   apparently only supported by three Circuit Courts in the entire United States.                 See

   Recommendation, p. 13. The more logical and equitable approach employed by the vast majority

   of jurisdictions faced with this issue is to examine the “true nature” of the debt owed, as the

   Magistrate Judge here advocates. Id. at 15-16.

          Here, contrary to Munoz’s argument, the fraud counterclaim that Superior asserted against

   Munoz in State Court necessarily arose from the parties’ breach of contract dispute; but for the

   Independent Contractor Agreement between the two, Munoz would not have initiated the State

   Court action for “breach of contract.” #7-1 at 46. The circumstances surrounding the entry of the

   judgment at issue against Munoz are analogous to the cases described on pages 15 and 16 of the

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   Recommendation. For example, the Magistrate Judge cites to In re Thompson, 511 B.R. 20, 23

   (Bankr. D. Conn. 2014), wherein a state court jury awarded damages for both “breach of contract”

   and “fraudulent misrepresentation.” Recommendation, p. 15. As Superior argues here, the creditor

   in In re Thompson later argued that “both awards were exempt from discharge pursuant to Section

   523(a)(2)(A), because the breach of contract arose out of the debtor’s fraud.” Id.

          The United States Bankruptcy Court for the District of Connecticut agreed, “finding that

   ‘the fraudulent misrepresentation claims…which the jury found to be present, centered on the

   [contract] and by extension the breach of the [contract].’” Recommendations, p. 15.              The

   Magistrate Judge references numerous other jurisdictions that have “taken a similar approach” in

   Footnote 11 of the Recommendations, including the Central District of California, the Southern

   and Eastern Districts of Texas, and the Northern District of Georgia.

          Here, there is no “second bite at the apple” to be had. Objections, p. 2. The State Court

   pleadings that comprise a portion of the Record on Appeal reveal that because of Munoz’s fraud,

   he breached the contract with Superior. It is obvious from the State Court pleadings and documents

   that the State Court action “centered” on the Independent Contractor Agreement and the parties’

   obligations and remedies thereunder. #7-1 at 46-49. It is therefore illogical to argue that Superior’s

   fraud counterclaim is somehow distinct from its breach of contract counterclaim, since the parties’

   contractual relationship provided the groundwork for Superior’s fraud counterclaim– i.e. Munoz

   failed to abide by the parties’ agreement in performing work assigned by Superior and then inflated

   the invoices to Superior for the incomplete/unperformed work. #7-1 at 58, Ex. 1, Answer with

   Counterclaims and Jury Demand, p. 5-6. In other words, there would be no fraud counterclaim

   against Munoz without a corresponding breach of contract claim; the two were “inextricably




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   linked” and the “true nature” of the debt must be examined for purposes of assessing

   nondischargeability. Recommendation, p. 16-17.

              Munoz’s cite to Gem Ravioli, Inc. v. Creta (In re Creta), 271 B.R. 214, 221 (1st Cir. B.A.P.

   2002) is confusing and misplaced, as this case dealt with an alleged misrepresentation that the

   debtor “held a license permitting him to engage in the business of refrigeration and air

   conditioning.” Id. at 214. Here, the State Court record evidences that because Munoz failed to,

   among other things, perform the work assigned and actively engaged in fraudulent billing practices

   after it entered into the Independent Contractor Agreement, Munoz breached the contract. In re

   Creta is distinguishable.

              In re King, 103 F.3d 17 (5th Cir. 1997), provides further support for the more customary

   practice of examining these types of mixed-damages awards. As was the case in In re Thompson,

   in King, the jury in the underlying state court matter entered damages on both breach of contract

   and fraud claims but, inexplicably, the state court “ ‘substituted a new judgment that limited the

   [creditors’] award to contract damages,’” thus eliminating the damages awarded for fraud. Id. at

   18. The Fifth Circuit reversed the bankruptcy court’s decision to preclude the creditor from

   exempting the state court judgment from discharge, finding that “ ‘[t]he bare fact that the state

   court awarded only contract rather than fraud damages does not preclude the bankruptcy court

   from inquiring into the true nature of that debt.’” Id. at 19.

              Notably, there are slight variances in the facts of In re King, the facts of In re Thompson

   and the facts of the instant dispute that are favorable to Superior. First, in In re Thompson, the

   jury verdict for fraud was nominal in comparison to the breach of contract claim 2, yet the Court

   still found in favor of the creditor. Here, the opposite is true. In King, the state court unilaterally



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       $23,160 for breach of contract vs. $1 for fraudulent misrepresentation. In re Thompson, 511 B.R. at 23.

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   eliminated the award of “fraud” damages, leaving only “contract” damages, yet the Fifth Circuit

   Court ultimately determined that this elimination does not obligate the bankruptcy court to

   consider such labels. Here, there was no elimination of any category of damages by the State

   Court, and despite the reduction in the amount of punitive damages awarded to Superior, the State

   Court awarded Superior the fees and costs that comprise the judgment at issue here citing to

   Superior’s success on both Munoz’s claims and all counterclaims, including fraud and breach of

   contract. Recommendations, p. 21; #7-1 at 128-129.

          The jury verdict in favor of Superior is telling, especially in terms of examining the “true

   nature” of the debt owed by Munoz: the punitive damages award for the fraud counterclaim was

   originally entered in the amount of $12,500, versus $1.00 for breach of contract. #7-1 at 125. It is

   of no consequence that the State Court awarded Superior its attorneys fees and costs under a Fee-

   Shifting provision, or that even $1.00 was awarded for breach of contract; the “true nature” of the

   debt owed by Munoz is nondischargeable fraud.

      2. Superior’s Success on All Counterclaims Against Munoz, Including Fraud, Provide
         Basis for State Court Award of Attorneys Fees and Said Fees are Nondischargeable

          As the Magistrate Judge points out, “the vast majority of the Judgment obtained by

   Superior in the State Court Action consisted of attorneys’ fees and costs.” However, the fees

   incurred by Superior cannot possibly be apportioned out by “claim” in the State Court Action, and

   they are “inextricably intertwined with all claims asserted and litigated during the State Court

   Action.” Recommendation, p. 19. As the above-cited cases and those cited by the Magistrate

   Judge demonstrate, damages for contractual liability may fall within the purview of Section

   523(a)(2)(A). Moreover, the seminal case on this issue, Cohen v. de la Cruz, 523 U.S. 213 (1998),

   holds that Section 523(a)(2)(A) “ ‘encompasses any liability arising from money, property,

   etc…that is fraudulently obtained, including…attorneys’ fees.” Recommendation, p. 19. The

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   Magistrate Judge further correctly articulated, as a logical outgrowth of the “true nature”

   examination argument, that Section 523(a)(2)(A) – in multiple jurisdictions – “includes attorneys’

   fees awarded pursuant to a contractual agreement between the debtor and creditor.”

   Recommendation, p. 19-20; See TranSouth Fin. Corp. of Fla. v. Johnson, 931 F.2d 1505, 1507

   (11th Cir. 1991).

              Contrary to Munoz’s contention, the Magistrate Judge does not misapply Cohen.

   Moreover, there is nothing in Cohen limiting recovery of attorneys fees to awards authorized

   strictly by a fraud statute. Such a reading of Cohen is absurd, and would unnecessarily restrict the

   application of Cohen to a handful of situations, providing an egregious windfall to debtors like

   Munoz. 11 U.S.C. § 523(a)(2)(A) does not impose any “restitutionary ceiling” or any other

   limitation to which any debt arising from fraud is excepted from discharge. Cohen, 523 U.S. at

   214. Thus, the presence of a contractual fee-shifting provision does not impact the analysis here

   under Cohen.


         3. Valid Fee-Shifting Provision Encompasses Adversary Proceeding

              Lastly, Munoz inexplicably argues that because “the claims in this case involve solely the

   dischargeability of a debt under 11 U.S.C. §523 (a)(2)(A), [and] not the liquidation of a claim,”

   Superior is not entitled to recovery of its attorneys’ fees and costs expended in the Adversary

   Proceeding. Objection, p. 5. Munoz ignores the existence of the parties’ undisputed contract,

   which includes a valid fee-shifting provision.

              Superior is entitled to an award of the attorneys’ fees and costs it has expended in the

   successful dischargeability litigation per In re Busch 3 and the cases upon which it relies, including

   Traveler’s Casualty & Surety Co. v. Pacific Gas & Elec. Co., 549 U.S. 443 (2007). At issue in In


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       294 B.R. 137 (B.A.P. 10th Cir. 2003)

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   re Busch was whether or not the prevailing litigant (former wife of debtor) was entitled to an award

   of attorneys’ fees and costs she expended in an adversary proceeding challenging the

   dischargeability of the debtor’s obligation to pay, as “non-dischargeable support,” the second

   mortgage on the parties’ marital residence (outlined in a Utah state court divorce decree) 369 B.R.

   614.

              Relying on the teachings of Cohen, the Court in Busch determined that the former wife’s

   fees expended in the debtor’s various bankruptcy cases and a nondischargeability action were

   recoverable. In re Busch, 369 B.R. at 625-626. The Busch Court relied on the reasoning of Butner

   v. United States 4, that “property interests are created and defined by state law,” and “unless some

   federal interest requires a different result, there is no reason why such interests should be analyzed

   differently simply because an interested party is involved in a bankruptcy proceeding.” 440 U.S.

   at 55. Because Utah state law provided for an award of fees to a prevailing party in a post-decree

   action, and because there was no “federal interest requiring a different result in the bankruptcy

   action,” the award was proper. Again, such is the case here. Additionally, of note, the Magistrate

   Judge cites to Hardin Paving, Co. v. Jackowiak (In re Jackowiak), No. 09-A-96013, 2009 WL

   3930217, at *4 (Bankr. N.D. Ill. Nov. 18, 2009), which is particularly relevant to the situation at

   hand: “Although the Plaintiff’s right to attorneys’ fees arises out of a contractual provision in the

   Subcontract Agreement, the attorneys’ fees were incurred in connection with the proceedings to

   find the debt non-dischargeable under Section 523(a)(2).”

              Here, the fee-shifting provision encompasses “any dispute arising from or related to” the

   Independent Contractor Agreement. #7-1 at 164. As the Magistrate Judge points out, “Colorado

   courts have interpreted the phrase ‘arise out of’ broadly ‘to mean ‘originate from,’ ‘grow out of,’



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       440 U.S. 48 (1979)

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   or ‘flow from.’” Bedard v. Martin, 100 P.3d 584, 593 (Colo. App. 2004); Recommendation, p. 24.

   Because this Adversary Proceeding and appeal constitute “disputes” that “arise from or [are]

   related to” the Independent Contractor Agreement – the same document that was the subject of the

   State Court trial, the judgment at issue here, and the continued request for fees defending said

   judgment – any fees and costs expended by Superior are recoverable against Munoz.


                                            CONCLUSION

          As previously stated, the Appellate Court’s de novo review of this matter affords the Court

   freedom to “accept, reject, or modify, in whole or in part, those [disputed] portions of the proposed

   findings and recommendations.” Mahoney v. Ernst & Young LLP, 487 F.Supp.2d 780 (S.D.Tex.

   2006). However, “[t]he [Appellate Court] Judge may be persuaded by the reasoning of the

   magistrate judge while still engaging in an independent decision. See Mendez v. Republic Bank,

   725 F.3d 651 (7th Cir. 2013). Here, while Superior agrees with the Recommendations of the

   Magistrate Judge, Superior further calls upon the Appellate Court to affirmatively issue an Order

   in favor of Superior, fully reversing the factual findings and legal conclusions of the United States

   Bankruptcy Court for the District of Colorado and entering factual findings and legal conclusions

   in favor of Superior.

          Wherefore, for the foregoing reasons stated, Superior Cleaning Services, LLC respectfully

   requests that the Appellate Court enter an Order from the United States District Court for the

   District of Colorado affirmatively finding and ruling that:

          (1) The entire judgment entered against Munoz is nondischargeable under 11 U.S.C. §

              523(a)(2)(A); and




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          (2) Superior is entitled to recovery of its attorneys fees and costs incurred in connection

             with the Adversary Proceeding due to the broad language of the fee-shifting provision

             of the Independent Contractor Agreement.



   DATED this 10th day of August, 2018.

                                        Respectfully submitted,
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 10th day of August 2018, a true and accurate copy of the
   foregoing RESPONSE TO APPELLEES OBJECTIONS TO RECOMMENDATION OF
   UNITED STATES MAGISTRATE JUDGE was filed and served via CM/ECF to the following:

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